Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 1 of 43 PagelD 38

UNITED STATES DISTRICT COURT |
MIDDLE DISTRICT OF FLORIDA

CIVIL ACTION NO, & * 24- w= 694 -Com-0EL

Zk

SECURITIES AND EXCHANGE COMMISSION,

\

t
“rey
FG

AUNOD LORE Sy Sy

}

ASHHINY O2 Yd¥ 1202

Plaintiff,

Y

GRY 0
ig

G34

Vv.

VOHO1s ‘0
Old 30 Sha se

HARBOR CITY CAPITAL CORP.,
HARBOR CITY VENTURES, LLC,
HCCF-1 LLC,

HCCF-2 LLC,

HCCF-3 LLC, UNDER SEAL
HCCF-4 LLC,

HCCF-5 LLC,
HARBOR CITY DIGITAL VENTURES, INC.,

HCC MEDIA FUNDING, LLC,
JONATHAN P. MARONEY,

VOtY

Defendants,
and

CELTIC ENTERPRISES, LLC and
TONYA L. MARONEY,

Relief Defendants.
/

PLAINTIFF SECURITIES AND EXCHANGE COMMISSION'S
EMERGENCY EX PARTE MOTION AND MEMORANDUM OF LAW
FOR TEMPORARY RESTRAINING ORDER, ASSET FREEZE, AND
OTHER INJUNCTIVE RELIEF

STH
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 2 of 43 PagelD 39

/_, Jonathan P. Maroney bilked investors out of more than $17.1 Million.
Through his firm Harbor City Capital Corp. (“Harbor City”), he solicited
investors through a series of unregistered offerings in an entity called
Harbor City Ventures, LLC (“HC Ventures”), and several special purpose
entities called HCCF-1, LLC, HCCF-2 LLC, HCCF-3 LLC, HCCF-4 LLC and
HCCF-5 LLC (collectively the “HC SPEs”), promising monthly returns
ranging from 1% to 1.5% per month (up to 18% annually). The purported
purpose of the offerings was to provide bridge funding for Harbor City’s
customer lead generation businesses, which Maroney touted as a highly
profitable pipeline of business and guaranteed by UCC-1 lien filings and
stand-by letters of credit (“SBLCs”). All of this was false.

Indeed, despite statements made by Defendants in the offering
materials that investor funds would be used to fund Harbor City’s customer
lead generation campaigns, bank records show that Maroney
misappropriated at least $4.48 million in investor funds, which was diverted
for his personal use. Ex. 1, Declaration of Kathleen Strandell at 413. Maroney
also misused approximately $1.4 million of investor money by making
payments to other entities unrelated to the supposed purpose of the

offerings. Id. Bank records further reveal that about $6.5 million of the
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 3 of 43 PagelD 40

‘returns distributed to investors were in reality Ponzi-like payments funded
by other investors, and that there were no recurring sources of revenue from
lead campaigns backing the investments. Id. at ¥§ 12, 13a.

As shown below, Maroney has already freely drawn from the Funds
at whim, whether it be to pay for his residence, home improvements, or to
purchase luxury automobiles. Without emergency relief, there is a great risk
that Maroney and the other Defendants and Relief Defendants will dissipate
investors’ funds. In addition, this fraud is ongoing: individuals have
invested with Harbor City as recently as this February. Ex. 1, Declaration of
Kathleen Strandell at 7. To stop this fraud, the SEC brings this emergency
action, under Federal Rule of Civil Procedure 65(b), to request that the
Court:

(1) enter a temporary restraining order to prevent Defendants from
violating the anti-fraud provisions of the federal securities laws and prohibit
the acceptance or disbursement of any additional investor funds,

(2) freeze Defendants’ and the Relief Defendants’ assets to repay
Defendants’ victims,

(3) compel Defendants to provide an accounting of, among other

things, the identities of the investors from whom they stole funds, the
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 4 of 43 PagelD 41

amounts stolen, thé disposition of such funds, and current location of all
investor funds and assets purchased with investor funds,

(4) expedite certain discovery and preserve relevant evidence, and

(5) order Defendants to show cause at a preliminary injunction
hearing why the asset freeze and other emergency relief in the
‘accompanying proposed order should not be extended for the pendency of
the litigation.1

Such relief is necessary to preserve the status quo and to protect this
Court’s ability to enter a meaningful judgment of disgorgement,
prejudgment interest, and monetary penalties in this action.

STATEMENT OF FACTS

 

1. DEFENDANTS AND RELIEF DEFENDANTS

A. Defendants

1. Jonathan P. Maroney, age 50, resides in Melbourne, Florida.
Maroney is the founder, Chief Executive Officer, and President of Harbor
City, and the President of Harbor City Digital Ventures, Inc. (“HC Digital”).

Ex. 2, Harbor City Corporate Filings; Ex. 3, HC Digital Corporate filings. He is

 

1 As explained in the Rule 65(b) Certification, the SEC believes that, if Defendants become
aware of this action before the asset freezes are instituted, they will dissipate their assets.
Thus, the SEC has not conferred with Defendants regarding this Ex Parte Motion.
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 5 of 43 PagelD 42

_ also the sole Manager of HC Ventures, HCC Media. Funding, LLC "HCC
Media”, and each of the HC SPEs. Ex. 4, HC Ventures Corporate Filings, Ex.
5, HCC Media Corporate Filings; Ex. 6 HC SPE’s Corporate Filings. Maroney
also controls all of the Defendants’ bank accounts.? Ex. 1, Declaration of
Kathleen Strandell at 45. In June 2020, the Alabama Securities Commission
issued a cease and desist order against Maroney, Harbor City and HC
Digital for offering or selling securities in the state. Ex. 7, Alabama Cease and
Desist Order.

2. Harbor City is a Nevada company formed in December 2014
with its principal place of business in Melbourne, Florida. Ex. 2, Harbor City
Corporate Filings. Harbor City and its securities have never been registered
with the Commission in any capacity. Harbor City filed a Form D Notice of
Exempt Offering of Securities with the Commission on January 29, 2019,
seeking to raise $1,000,000 in debt securities under a Rule 506(c) exemption.
Ex. 8, Harbor City Form D.

3. HC Ventures is a Nevada limited liability company established

in 2014 with its principal place of business in Melbourne, Florida. Ex. 4, HC

 

? A possible exception is HCC Media for which the Commission was unable to discover
any bank account records.
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 6 of 43 PagelD 43

Ventures Corporate Filings. HC Ventures and its securities have never been
registered with the Commission in any capacity.

4, HCCF-1 LLC (“HCCF-1") and HCCF-2 LLC (“HCCF-2") are
Nevada limited liability companies formed in August 2018 and April 2019,
respectively, with their principal place of business in Melbourne, Florida.
Ex. 6, HC SPE’s Corporate Filings. Both are wholly-owned and managed by
Harbor City. Id. Neither has been registered with the Commission in any
capacity.

5. HCCF-3 LLC (“HCCF-3"), HCCF-4 LLC (“HCCF-4”) and
HCCF-5 LLC (“HCCF-5”) are Wyoming limited liability companies formed
in September 2019, November 2019 and July 2020, respectively, with their
principal place of business in Melbourne, Florida. Ex. 6, HC SPE’s Corporate
Filings. All three are wholly-owned and managed by Harbor City. Id. None
have been registered with the Commission in any capacity.

6. HC Digital is a Nevada company established in 2017 with its
principal place of business in Melbourne, Florida. Ex. 3, HC Digital Corporate
filings. It is the “Operator” of the HCCF-1, HCCF-2, HCCF-3 and HCCF-4
offerings. Ex. 16, HCCF-4-LLC-Business Plan Deck at p. 7; Ex. 24, HCCF-3-LLC

Business Plan Deck at p. 7; Ex. 25, HCCF-2 Business Plan Deck at p. 7.
Case 6:21-cv-00694-CEM-DCI Document4 Filed 04/20/21 Page 7 of 43 PagelD 44

Te HCC Media is a limited liability. company established in 2020
with its principal place of business in Melbourne, Florida. Ex. 5, HCC Media
Corporate Filings. HCC Media is the Manager of the HCCF-5 offering. Ex. 15,
Annex A-PPM Business Description of HCCF-5.

B. Relief Defendants

 

1. Celtic Enterprises, LLC (“Celtic”) is a Wyoming limited liability
company with its principal place of business listed in Melbourne, Florida.
Ex. 1, Declaration of Kathleen Strandell at 16 and Exhibit F thereto. Maroney is
Celtic’s Manager. Celtic received at least $617,000 in ill-gotten gains out of
the offering proceeds. Id. at { 14.

2. Tonya L. Maroney, age 51, resides in Melbourne, Florida and is
married to Jonathan P. Maroney. On her LinkedIn profile she describes
herself as the Owner and Founder of Harbor City. Ex. 9, Tonya Maroney
LinkedIn profile. Tonya Maroney received at least $452,000 in ill-gotten gains
out of the offering proceeds. Ex. 1, Declaration of Kathleen Strandell at { 14.
Il. HARBOR CITY’S UNREGISTERED SECURITIES OFFERINGS

From at least 2015, continuing through the present, Harbor City, HC
Ventures, the HC SPEs, HC Digital, and HCC Media, through Maroney,

have raised more than $17.1 million from more than 100 investors
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 8 of 43 PagelD 45

nationwide through a-series of unregistered fraudulent securities offerings. |
Ex. 1, Declaration of Kathleen Strandell at § 7. Initially, starting in about May
2015, the securities sold were in form of either promissory notes or
agreements entitled “Unsecured Promissory Notes” and “Fixed-Rate
Funding Agreements” issued by HC Ventures. These earlier notes and
agreements offered interest rates varying from 2% to 5% per month for
terms ranging from 12 to 36 months. Ex. 10, Declaration of Investor James
Halpin at Exs. A, B and C; Ex. 11, Declaration of Investor Michael Handelsman at
Ex. A; Ex. 12, Declaration of Investor Steven Estle at Exs. B and C.

Maroney also solicited some investors directly. He explained to at
least one prospective investor that Harbor City “bought the leads for $1.00
each and resold them to businesses for $5.00” apiece. Ex. 10, Declaration of
Investor Halpin at J 3. Investors were also told that Harbor City could
generate 14% to 20% in guaranteed returns. Id. at { 2; Ex. 23, David Anthony
Testimony Transcript at pp. 146, 158-160. Investors in those instruments were
promised a full return of their investment principal upon maturity. Ex. 10,
Declaration of Investor Halpin at | 2. In marketing materials, Harbor City
told investors that “Harbor City’s Proven Arbitrage Strategy Generates

HIGH RETURNS at Relatively LOW RISK!” Ex. 16, HCCF-4-LLC Business
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 9 of 43 PagelD 46

Plan Deck at p. 27.

Beginning in late 2018, the securities sold took the form of “high yield,
secured bonds” issued by the five “special purpose” entities controlled by
Maroney. Ex. 14, High Yield Bond Subscription Agreements for HCCF-1, HHCF-
2, HCCF-3, HCCF-4 and HCCF-5. The so-called high yield, secured bonds
issued in the HC SPEs offerings promised interest rates that varied from 1%
to 1.5% per month (or 12% to 18% annually). Id. The HC SPE’s subscription
agreements are signed by J.P. Maroney as “Manager of HCCF.” Id. The
bonds are offered in 1, 2, 3 or 5 year terms, with a guaranteed return of
investment principal at maturity. Id; Ex. 23; David Anthony Testimony
Transcript at pp. 158-160.

Defendants Harbor City, the other Harbor City entities, and Maroney
represented to investors that proceeds from the offerings would be used to
provide “bridge funding” for Harbor City’s business of generating online
customer lead campaigns for other businesses. Ex. 16, HCCF-4 Business Plan
Presentation at pp. 3; Ex. 24, HCCF-3-LLC Business Plan Deck at p. 3; Ex. 25,
HCCF-2 Business Plan Deck at p. 3; Ex. 15, Annex A PPM Business Description
of HCCF-5 at p. A-2. A customer lead generation campaign is essentially the

process of capturing online interest in a service or product for the purpose
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 10 of 43 PagelD 47

_ of developing sales leads. Harbor City claims its campaigns generate 20%-
45% ROI in 90 days or less and that they provided the funding to cover the
30-90 day gap between when the campaigns generate the leads and when
they get paid on the leads. Ex. 16, HCCF-4 Business Plan Presentation at pp.
3-8. As for the HC SPEs’ bond offerings, Harbor City and Maroney claim
that the proceeds were to be “loaned” to one of the two Harbor City related
entities charged with managing the SPEs and administering the internet
lead generation campaigns: HC Digital or HCC Media. Id. at p. 7; Ex. 15
Annex A PPM Business Description of HCCF-5 at p. A-2.

According to the offering documents, the leads generated from the
campaigns were to be sold at a substantial profit to Harbor City’s “pipeline”
of business clients within the “$200 Billion internet advertising sector.” Ex.
16, HCCF-4 Business Plan Presentation at p. 3. From the resulting profits,
investors were supposed to receive monthly interest payments followed by
the return of their principal when their notes or bonds mature. Id. at pp. 3-
8. With each new offering, Harbor City touted its plan to “expand into as
many as 100 online vertical industries.” Ex. 15, Annex A PPM Business

Description of HCCF-5 at p. A-2. For example, according to HCCF-4’s offering

documents, the proceeds from that offering were to be used to “fund the

10
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 11 of 43 PagelD 48

ramp-up in lead production needed to service the current pipeline” of
business clients. Ex. 16, HCCF-4 Business Plan Presentation at p. 26.
Defendants solicited and raised money from investors primarily
through Harbor City’s website and a series of on-line marketing videos
featuring Maroney posted both on the company’s website and on YouTube.
Ex. 17, Harbor City Investment Updated Offerings; Ex. 18, Harbor City Website
Capture (10/4/19); Ex. 19, YouTube Video Transcription HCCF-1 Bond Webcast;
Ex. 21, You Tube Transcription Harbor City Capital-Video 1 and 2 (9-26-19).5 In
the on-line videos, Defendant Maroney gives prospective investors a
detailed description of the investment opportunity. For example, he
reiterates in these videos that investor money will be used to fund Harbor
City’s lead generation business and he tells prospects about the guaranteed
returns they could expect to receive. Ex. 19, YouTube Video Transcription
HCCF-1 Bond Webcast; Ex. 21, You Tube Transcription Harbor City Capttal-

Video 1 and 2 (9-26-19) at pp. 14-24.
In a video posted on Harbor City’s website, Defendant Maroney

describes the Harbor City bond offering as “backed by a CD—the safest

 

> Copies of the videos can be found at Exhibit 31 on DVD. Selected transcripts of the
videos are also provided as Exs. 19- 22.

11
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 12 of 43 PagelD 49

form of investment out there” and. equates it to going down to your local
bank and purchasing a certificate of deposit. Ex, 22, YouTube Video
Transcription Harbor City Capital SBLC Video-1-28-20. In one of the YouTube
videos, labeled “ Harbor City Capital Corp. - Safe Investments,” Defendant
Maroney explains that Harbor City has “put a financial instrument backing
our bond that would make sure if anything happened, there would be an
asset sitting there, a cash asset sitting there that would pay off the investor's
principal.” Ex. 20, You Tube Video Transcription Harbor City Capital Corp.-Safe
Investments at pp. 2-3. Maroney’s statements in the video are accompanied
by a pop up flag stating that the “bonds are 100% secured by a cash asset-
backed instrument issued by a major top-tiered bank, which ensures return
of principal.” These representations were false.

After sending in their investments, Defendant Maroney would often
send email updates to investors about Harbor City and the Harbor City
related companies. Ex. 11, Declaration of Investor Michael Handelsman at J] 15-
16 and Exhibits J-N thereto. In these emails, Defendant Maroney promised
“substantial, double digit returns” and reassured investors that they “will
not lose a dime of [our] money.” Id. In one email Maroney sent to investors

in January 2018, he falsely claimed that there was such “a MASSIVE pipeline

12
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 13 of 43 PagelD 50

of standing.orders for leads” from companies seeking Harbor City’s services

and expertise that Harbor City does not “expect to have enough capital to

serve ALL of. that demand.” Ex. 11, Declaration of Investor Michael

Handelsman at 4 16 and Exhibits N thereto. As shown below, these

representations were also false.

Ill. MARONEY AND HARBOR CITY’S FRAUDULENT CONDUCT
A. Defendants’ Misuse and Misappropriation of Investor Funds
Defendants Harbor City, HC Ventures, the HC SPEs, HC Digital,

HCC Media, and Maroney represented to investors and prospective

investors orally and in offering documents that the proceeds raised from the

offerings would be used to fund Harbor City’s and its related companies’
customer lead generation campaigns. In return, investors were told that
they would receive monthly interest payments from the profits on the leads
generated, as well as a return of their principal when their notes,
agreements, or bonds matured. The offering documents distributed to
investors also provided that “management will not have any discretion as
to any other use of the proceeds” nor “receive any salary.” Ex. 13, HCCF-4
PPM at p. 32.

Contrary to the representations made to investors, Defendants

13
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 14 of 43 PagelD 51

Harbor City, HC Ventures, the HC SPEs, HC Digital, and Maroney were not .
engaged in a significant lead generation business and only used a small
portion of money raised from investors to fund their business. Ex. 1,.
Declaration of Kathleen Strandell at {§ 10, 13. Instead, from January 2017 to
February 2021, Harbor City generated no significant revenues from its
customer lead generation businesses or from any other venture. Id.
Significantly, of the $17.1 million in investor funds deposited into the
Harbor City related bank accounts, only a small percentage appears to have
gone to fund business expenses. Id.

Instead, Maroney used investor money to enrich himself and his
family, and to perpetuate the Ponzi scheme by making payments of
fictitious returns to existing investors using other investor funds.
Specifically, of the $17.1 million raised from Harbor City’s investors,
Maroney misappropriated more than $4.48 million for his own personal use.
Id. at 13. Some of the items that he spent investor money on were:

e $1.35 million to pay his credit card bills,
e $827,000 towards the purchase and maintenance of his
waterfront home,

e $808,000 towards housing and renovation-related expenses,

14
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 15 of 43 PagelD 52

° $90,000 to purchase a Mercedes,

e over $265,000 in cash or ATM withdrawals,

© $394,000 deposited into a joint bank account with his wife,
Tonya Maroney, and

e $617,000 transferred to Relief Defendant Celtic, a nominee
entity he controls. Id. at J 14.

Defendant Maroney also commingled investors’ money. Although
Defendant Maroney had separate bank accounts for Defendants HC
Ventures, HC Digital, HCCF-1, HCCF-2, HCCF-3 and HCCF-4, the investor
funds initially deposited into those accounts were later transferred into
Harbor City’s accounts and commingled along with funds from the other
offerings. Ex. 1, Declaration of Kathleen Strandell at § 9, 17. Maroney was
named as the signatory on all of the Harbor City and other Harbor City
related companies bank accounts. Id. at ¥ 5.

In addition, Maroney misused approximately $1.4 million of investor
money by making payments to other entities unrelated to the supposed
purpose of the offerings, including money sent to a company involved in

the container, storage and shipping industry. Id. at { 13. Thus, about $6

15
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 16 of 43 PagelD 53

million of investors’ money was misappropriated and misused. by.

Defendant Maroney. Id.

B. Defendants Are Conducting a Ponzi Scheme

Defendants were operating a Ponzi scheme since at least January
2017. Since Defendants promised investors high rates of return but
generated no significant revenues from their touted business model,
Defendants needed new investor money to make interest payments to
existing investors. More specifically, in a classic Ponzi-scheme fashion,
since 2017, Maroney has caused the Funds to use at least $6.5 million of new
investor funds to make monthly interest payments and other payouts to
earlier investors. Ex. 1, Declaration of Kathleen Strandell at | 13 and Ex. A
thereto. Since 2017, Defendant Maroney

C. Misrepresentations and Omissions to Investors

In addition, to the misrepresentations detailed above, Defendants
Harbor City, HC Ventures, the HC SPEs, HC Digital, HCC Media, and
Maroney also told investors that the funding for their customer lead
generation business is “provided as a line of credit that is guaranteed by a
UCC-1 filed lien” using Defendants Harbor City’s, HC Digital’s and HCC

Media’s accounts receivable and purchase orders as collateral. Ex. 16, HCCF-

16
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 17 of 43 PagelD 54

4 Business Plan Presentation at p. 9. They claimed that with this “secure.
position with guaranteed repayment,” they are able to mitigate the risk of
- loss to its investors. Id.

Investors in the HCCF-4 and HCCF-5 offerings were also provided
with an additional purported “guarantee of payment” in the form of a
“Standby Line of Credit (SBLC)” issued to Harbor City from what is
described as a “top tier bank.” Ex. 16, HCCF-4 Business Plan Presentation at p.
11. The offering documents for HCCF- stated:

Secured Interest in Citibank Standby Letter of Credit

The HCCF-4 High Yield Secured Bond holds a claim guarantee
which in the event and only in the event that the Bond is not repaid
at the termination of the agreed term, said Bondholder shall have a
legal claim up to the principal paid as against the Standby Letter of
Credit issued by 15™ American and Citibank. All claims shall be
presented for legal payment upon demonstration of a breach of the
terms under this Agreement. The 1ST American / Citibank Standby
Letter of Credit is limited to a total claim value of $5,000,000.00 USD.

Ex. 13, HCCF-4 PPM at p. 30. As Maroney explained to one investor, “this
cash line of credit is there, its liquid, it’s available, so that if something
happens and we can’t make our bond payments or we go bankrupt, ... we
have a claim on the monies that we’ve put on deposit with Harbor City via

this cash line of credit.” Ex. 23, David Anthony Testimony Transcript at p. 49.

17
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 18 of 43 PagelD 55

In truth, the ucc filings and the SBLCs do not exist. The SEC. has
been unable to find any evidence that Defendants ever made any uce lien
filings for any loan-related business transactions. Ex. 26, Declaration of Celeste
Byrd. Moreover, at no point were Defendants ever issued a SBLC. Ex. 27,
Declaration of Paul Nater at {| 7. Rather, Defendant Harbor City, through
Defendant Maroney, merely entered into an “Agreement for Service” dated
November 2019 with an intermediary who would have been responsible for
arranging the issuance of a SBLC of $5 million in favor Harbor City. Id. The
transaction never went through and the Agreement for Service was canceled
less than a month later due to Harbor City’s and Maroney’s failure to pay
the required fees to secure the SBLC. Id. at J] 5-7. Despite knowing this
SBLC was cancelled, Maroney continued to falsely tout its existence in
publicly available videos and directly to investors. Id. at 6; Ex. 22, YouTube

Video Transcription Harbor City Capital SBLC Video-1-28-20; Ex. 23, David
Anthony Testimony Transcript at pp. 47-50.

The offering documents for the HCCF-5 offering also include a section
discussing HCC Media’s “Track Record” that touted Harbor City’s “four
successful bond issues.” Ex. 15, Annex A PPM Business Description of HCCF-

5 at p. 5. This section of the materials represented that “[a]ll previous bond

18
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 19 of 43 PagelD 56

issues have generated above average returns for the. investors, and all
investor payments have been completed successfully and on time.” Id.
Defendant Maroney likewise told at least one investor, Harbor City’s
largest, that everyone has been paid back from the previous offerings. Ex.
23, David Anthony Testimony Transcript at p. 141. These statements are all
false and misleading. In fact, several investors’ “interest payments” were
often delayed and eventually stopped completely. Ex. 10, Declaration of
Investor Halpin at § 13; Ex. 11, Declaration of Investor Michael Handelsman at |
17; Ex. 12, Declaration of Investor Steven Estle at 4 14. They contacted
Defendant Maroney numerous times demanding their interest payments
and a return of their principal investment amounts, but to date have not
received their money back. Id. Indeed, at least one investor filed a lawsuit
in federal court to get his investment returned. Ex. 30, Amended Complaint in
Investor Scherzinger Lawsuit. More importantly, the offering materials
omitted to disclose to investors that because the Defendants did not
generate any significant revenues or profits from their businesses, the
“interest payments” and other returns Defendants were paying to investors

came from other investors’ money. Ex. 1, Declaration of Kathleen Strandell at

4] 13 and Ex. A thereto.

19
Case 6:21-cv-00694-CEM-DCI Document4 Filed 04/20/21 Page 20 of 43 PagelD 57

Finally, in Defendant HCCF-5's offering, documents, which are dated .
July 2020, Defendant Maroney touts himself as a “seasoned business growth
strategist” with “more than 30-years of experience starting, building,
buying, and selling companies in a wide variety of industries.” Ex. 15, Annex
A PPM Business Description of HCCF-5 at p. 3. However, the same materials
failed to disclose to investors and prospective investors that in June 2020,
securities regulators in Alabama issued an administrative cease-and-desist
order against Defendants Maroney, Harbor City, and HC Digital for offering
and selling unregistered securities and making misstatements and
omissions to residents in the state. Ex. 7, Alabama Cease and Desist Order. This
omission rendered false and misleading the statements made to investors
about Defendant Maroney’s background and experience.

D. Defendants’ Failure to Respond to the SEC’s Investigation

 

On March 1, 2021, the Commission served investigative subpoenas on
Harbor Capital and Maroney, seeking documents, and tried to schedule
Maroney’s investigative testimony. Ex. 28, Investigative Subpoenas to Harbor
City and Maroney. Defendant Maroney, however, failed to respond to the

subpoena in any manner. Nor has the SEC received documents it requested

20
Case 6:21-cv-00694-CEM-DCI Document4 Filed 04/20/21 Page 21 of 43 PagelD 58

- from Harbor City, even though.an investigative subpoena was.sent to its
Registered Agent. Ex. 29, Proof of Service on Harbor City’s Registered Agent.

MEMORANDUM OF LAW

 

I. LEGAL STANDARD

To obtain emergency relief of a temporary restraining order, asset
freeze, and other relief to prevent fraud, the SEC must show at least an
inference that Defendants have violated the securities laws (in the case of an
asset freeze) or a prima facie showing of a violation and the likelihood of
future violations (in the case of a temporary restraining order). See, e.g.,
Smith v. SEC, 653 F.3d 121, 128 (2d Cir. 2011); SEC v. Shiner, 268 F. Supp. 2d
1333, 1340 (S.D. Fla. 2003). The SEC has made such a showing.

Section 20(b) of the Securities Act, 15 U.S.C. § 77t, and Section 21(d)
of the Exchange Act, 15 U.S.C. § 78u(d), provide that in Commission actions
the Court shall grant injunctive relief upon a proper showing. Shiner, 268 F.
Supp. 2d at 1340. This “proper showing” has been described as “a justifiable
basis for believing, derived from reasonable inquiry or other credible
information, that such a state of facts probably existed as reasonably would

lead the SEC to believe that the defendants were engaged in violations of

2]
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 22 of 43 PagelD 59

the statutes involved.” SEC v. Gen. Int'l Loan Network, Inc., 770 F. Supp. 678,
688 (D.D.C. 1991).

The SEC appears “not as an ordinary. litigant, but as a statutory |
guardian charged with safeguarding the public interest in enforcing the
securities laws.” SEC v. Lauer, 03-80612-CIV-MARRA, 2008 WL 4372896
(S.D. Fla. Sept. 24, 2008), aff'd, 478 Fed. Appx. 550 (11th Cir. 2012). The
Commission therefore faces a lower burden than a private litigant when
seeking an injunction, and need not meet the requirements imposed by
traditional equity jurisprudence. Hecht Co. v. Bowles, 321 U.S. 321, 331 (1944);
SEC v. J.W. Korth & Co., 991 F. Supp. 1468, 1472 (S.D. Fla. 1998). Unlike
private litigants, the Commission need not demonstrate irreparable harm or
the unavailability of an adequate remedy at law. Hecht, 321 U.S. at 331; J.W.
Korth, 991 F. Supp. at 1473. Nor is it required to show a balance of equities
in its favor. SEC v. U.S. Pension Trust Corp., 07-22570-CIV-MARTINEZ, 2010
WL 3894082 (S.D. Fla. Sept. 30, 2010) aff'd sub nom.; SEC v. US. Pension Trust
Corp., 444 Fed. Appx. 435 (11th Cir. 2011).

As discussed below, the Commission’s evidence in this case warrants
entry of the requested injunctive relief on all applicable grounds. The

declarations, account records, and other exhibits attached to this motion

22
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 23 of 43 PagelD 60

demonstrate that Defendants are violating the anti-fraud and registration
provisions of the federal securities laws, and will continue to violate them if
the Court does not immediately restrain and enjoin them. Asa result, the .
Court should enter the requested ex parte relief.

Il. DEFENDANTS VIOLATED THE FEDERAL SECURITES
LAWS

As shown in the ensuing sections, the Court has more than an
adequate basis to make a threshold finding that Defendants violated the
federal securities laws in fraudulently offering and selling the unregistered
securities to investors.

A. Defendants’ Offerings are Securities

 

Defendants offered fixed-rate notes, agreements and “bonds” that
promised to pay annual returns. As the Supreme Court noted in Reves v.
Ernst & Young, 494 U.S. 56, 66 (1990), “[i]f the seller’s purpose is to raise
money for the general use of a business enterprise . . . and the buyer is
interested primarily in the profit the note is expected to generate, the
instrument is likely to be a ‘security.’” Here, each investment stated in its
offering materials that its purpose was to provide funding for HC Digital or

HC Media. See e.g., Ex. 13, HCCF-4 at p. 26; Ex. 15 Annex A-PPM Business

23
Case 6:21-cv-00694-CEM-DCI Document4 Filed 04/20/21 Page 24 of 43 PagelD 61

Description of HCCF-5 at p. A-3. . Thus, by their own stated purpose, the
debentures should be deemed to be securities.

Second, with respect to the “plan of distribution” of these
investments, they were “offered or sold to a broad segment of the public,”
and as such involved “common trading.” Reves, 494 U.S. at 66. The
debentures were sold in a widespread distribution to more than 100
investors nationwide who collectively invested over $17.1 million, and the
investors had no role in selecting or analyzing the underlying lead
campaigns.

In addition, Harbor City filed a Form D with the Commission, which
also indicates these investments constituted securities offerings. Ex. 8,
Harbor City Capital-SEC FORM D. Asa result, it is clear that the investments
that Defendants were offering and selling are considered securities. Diaz
Vicente v. Obenauer, 736 F. Supp. 679, 693 (E.D. Va. 1990) (absent
countervailing factors leading one to question the characterization,
documents own characterization as investment is probative of status as a
security under the law) (citing Reves, 494 U.S. at 68).

Moreover, Section 2(a)(1) of the Securities Act and Section 3({a)(10) of

the Exchange Act define a “security” to include, among other things, “any

24
Case 6:21-cv-00694-CEM-DCI Document4 Filed 04/20/21 Page 25 of 43 PagelD 62

note, . . . bond, [or] debenture.” Thus, the investments “notes,”
“agreements” and “bonds” Defendants’ sold are considered securities. See
| Reves, 494 US at 65-67 (1990) (noting a “presumption that every note is a
security,” which may be rebutted only by a showing that the note bears a
strong “family resemblance” to instruments that are not recognized as
securities). Here, the investments sold do not bear any resemblance to non-
security instruments and clearly involve an “investment of
money.” Investors were unquestionably interested in the investments
because of the high (and steady) rate of return offered. In addition, the
reasonable expectations of the investing public were that these notes,
agreements and bonds were investments.
Finally, there are no risk-reducing factors indicating that the
investments are not in fact securities. Reves, 494 U.S. at 69. As such, the
Harbor City investments are properly categorized as securities and thus

subject to federal securities regulation. 4

 

* Alternatively, the promissory notes, funding agreements, and bonds Defendants’
issued constitute investment contracts and are therefore securities under the analysis in
SEC v. W.]. Howey Co., 328 U.S. 293, 298-99 (1946). Under Howey, an investment contract
exists if there is: (a) an investment of money; (b) in a common enterprise; (c) based on the
expectation of profits to be derived from the entrepreneurial or managerial efforts of
others. See SEC v. Friendly Power Company, LLC, 49 F. Supp. 2d 1363, 1368 (S.D. Fla.
1999). Here, investors purchased the notes, agreements, and bonds from Defendants in

25
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 26 of 43 PagelD 63

B. Defendants Violated Sections 5(a) and 5(c) of the Securities Act .

Absent an exemption from registration, Section 5(a) of the Securities
Act makes it unlawful for any person to use any means or instruments of
transportation or communication in interstate commerce or of the mails to
sell a security for which a registration statement is not in effect. Similarly,
Section 5(c) makes it unlawful to offer for sale a security for which a
registration statement has not been filed with the Commission. A prima
facie case for a violation of Section 5 is established by showing that: (1) the
defendant sold or offered to sell securities; (2) no registration statement
covered the securities; and (3) the sale or offer was made through the use of
interstate facilities or mails. SEC v. Randy, 38 F. Supp. 2d 657, 667 (N.D. II.
1999). Scienter is not required to establish a violation of Section 5. SEC v.
CMKM Diamonds, Inc., 729 F.3d 1248, 1256 (9th Cir. 2013); SEC v. Holschuh,
694 F.2d 130, 137 n.10 (7th Cir. 1982). The defendant need not have

personally sold securities as long as “the defendant was a ‘necessary

 

order to earn a profit. The investors’ expected profitability of 12% to 18% in annual
interest from the investments was derived solely from the efforts of Defendants. In
addition, the investors were entirely passive, and once investors sent their money, they
had no control over how Defendants would use it. Because the investments satisfy all three
elements of an investment contract, they are securities under Howey.

26
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 27 of 43 PagelD 64

_ participant’ or ‘substantial factor’ in the sale.” SEC v. Calvo, 378 F.3d 1211,
1215 (11th Cir. 2004).

Once the Commission establishes a prima facie case of a violation, the
defendant assumes the burden of proving that the securities offering
qualified for an exemption from registration. SEC v. Ralston Purina Co., 346
U.S. 119, 126 (1953). Courts narrowly construe the exemptions from the
registration provisions to provide full and fair disclosure and to prevent
frauds. SEC v. Murphy, 626 F.2d 633, 641 (9th Cir. 1980); Quinn and Co. v.
SEC, 452 F.2d 943, 946 (10th Cir. 1971).

In this case, the Commission can establish a prima facie case against
the Defendants for violations of Sections 5(a) and 5(c) of the Securities Act.
Each investment at issue, directly or indirectly, involved the offer and sale
securities to the general public by email, telephone, the internet, and other
instruments of interstate commerce to approximately 100 investors who
were located throughout the U.S. As stated in the offering documents for
the investments, no registration statement was in effect or had been filed
with the Commission in connection with the securities. See e.g. Ex. 13, HCCF-
4 PPM at. p. 3. As a result, Defendants violated Securities Act Sections 5(a)

and 5(c) by engaging in the unregistered offering of securities.

27
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 28 of 43 PagelD 65

Here, no exemptions were available for Defendants’ offerings. The
exemptions from registration pursuant to Section 4(a)(2) of the Securities
- Act’ and Rules 504, 505,5 and 506(b) of Regulation D thereunder were | |
unavailable to the Defendants because, among other reasons, the offerings
involved general solicitation (including using a website, YouTube videos
and social media to solicit interested investors to contact management).
Because there were sales made to investors in multiple states, the intrastate
offering exemptions of 3(a)(11), Rule 147, and Rule 147A are not available.

Moreover, Rule 506(c) requires both that “all purchasers of securities
sold [pursuant to this exemption] ... are accredited investors” and,
separately, that issuers “take reasonable steps to verify that the purchasers
of the securities are accredited investors.” Rule 506(c) of Regulation D, 17
C.F.R. § 230.506(c). Here, although some of the investors did complete so-
called accredited investor certifications, others did not, and regardless, self-
certifications like these do not constitute reasonable steps to verify.
Eliminating the Prohibition Against General Solicitation and General Advertising
in Rule 506 and Rule 144A, Rel. No. 33-9415, at 33-34, 2013 WL 3817300, *14

(Jul. 10, 2013) (adopting release) (“We do not believe that an issuer will have

 

5 The exemption under Rule 505 was repealed as of May 22, 2017.

28
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 29 of 43 PagelD 66

taken reasonable steps to verify accredited investor. status if it, or those
acting on its behalf, required only that a person check a box in a
questionnaire or sign a form, absent other information about the purchaser
indicating accredited investor status.”). Here, no other exemptions from
registration were available. As a result, Defendants violated Securities Act
Sections 5(a) and 5(c) through their failure to register these offerings.

B. Violations of Section 17(a) of the Securities Act and Section
10(b) and Rule 10b-5 of the Exchange Act

 

Section 10(b) of the Exchange Act and Rule 10b-5(b) prohibit the
making of (1) a false statement or omission, (2) of material fact, (3) with
scienter, (4) in connection with the purchase or sale of a security. SEC v.
Merchant Capital, LLC, 483 F.3d 747,766 (11th Cir. 2007). A fact is material if
there is a “substantial likelihood that a reasonable [investor] would consider
it important in deciding how to [invest].” Basic Inc. v. Levinson, 485 U.S. 224,
231 (1988). The Eleventh Circuit has concluded scienter may be established
by a showing of knowing misconduct or severe recklessness. SEC v. Carriba
Air Inc., 681 F.2d 1318, 1324 (11th Cir. 1982). For purposes of Rule 10b-5(b),
the maker of a statement is the person or entity with ultimate authority over

the statement, including its content and whether and how to communicate

29
Case 6:21-cv-00694-CEM-DCI Document4 Filed 04/20/21 Page 30 of 43 PagelD 67

it. See Janus Capttal Group, Inc. v. First Derivative Traders, 564 U.S. 135, 142.6
For the SEC’s case, reliance, damages, and loss causation are not required
elements. SEC v. Morgan Keegan & Co., 678 F.3d 1233, 1244 (11th Cir. 2012).

Section 17(a)(2) of the Securities Act prohibits any person, in the offer
or sale of a security, from directly or indirectly obtaining money or property
by means of an untrue statement of a material fact or an omission to state a
material fact necessary to make the statements made, in light of the
circumstances under which they were made, not misleading. A violation of
Section 17(a)(2) can be shown by negligent conduct. See Aaron v. SEC, 446
U.S. 680, 701-02 (1980). Liability under Section 17(a)(2) is not contingent on
whether one has “made” a false statement. Rather, liability under Section
17(a)(2) turns on whether one has obtained money or property “by means
of” an untrue statement.

These antifraud provisions reach beyond misrepresentations or
omissions and encompass any wrongdoing by any person that rises to the
level of a deceptive practice. Superintendent of Insurance v. Bankers Life and

Casualty Co., 404 U.S. 6, 10 (1971). A defendant engages in a fraudulent

 

6 Janus’s “maker” requirement does not apply to Section 17(a) of the Securities Act or
Rules 10b-5(a) or (c) of the Exchange Act. SEC v. Big Apple Consulting USA, Inc., 783 F.3d
786, 795-98 (11th Cir. 2015); SEC v. Monterosso, 756 F.3d 1326, 1334 (11th Cir. 2014).

30
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 31 of 43 PagelD 68

scheme in violation of the antifraud provisions of the securities laws and
violates Sections 17(a)(1) and (3) of the Securities Act and Rules 10b-5(a) and
(c) of the Exchange Act when he commits any manipulative or deceptive act
or acts that are part of a fraudulent or deceptive course of conduct, or are in
furtherance of a scheme to defraud. SEC v. Huff, 758 F. Supp. 2d 1288, 1347-
48 (S.D. Fla. 2010); see also Lorenzo v. SEC, 139 S. Ct. 1094, 1103 (2019)
(“[U]sing false representations to induce the purchase of securities would
seem a paradigmatic example of securities fraud.”). To state a claim based
on conduct violating these provisions, the Commission must establish: (1)
the defendant committed a deceptive or manipulative act; (2) in furtherance
of the alleged scheme to defraud; (3) with scienter. In re Alstom SA Securities
Litigation, 406 F. Supp. 2d 433, 474 (S.D.N.Y. 2005) (citing Ii re Global
Crossing, 322 F. Supp. 2d 319, 336 (S.D.N.Y. 2004)).
1. Defendants Made Material Misrepresentations and Omissions
As detailed above, Defendants made materially misleading
statements and omissions necessary to make statements made not
misleading both in the offer and sale and in connection with the purchase
or sale of securities. Specifically, as to the use of investors’ money, their

running of a Ponzi scheme, the misstatements that the investments were

31
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 32 of 43 PagelD 69

guaranteed by UCC liens. and SBLC, and that they were running large |
profitable lead campaigns.

Through these misrepresentations and omissions, Defendants.
violated Section 17(a)(2) of the Securities Act in that they “obtain[ed] money
or property by means of any untrue statement of a material fact or any
[material] omission.” 15 U.S.C. § 77q(a)(2). The misrepresentations and
omissions listed above each enabled Maroney to persuade investors to
invest in the offerings, from which Maroney extracted significant monies for
himself and his wife. Furthermore, the misstatements and omissions listed
above violated Section 10(b) and Rule 10b-5(b) of the Exchange Act in that
they constituted untrue statements of material fact or material omissions.

2. The Statements Were Material

A false statement or omission must be material for a defendant to be
liable for it. The test for materiality is “whether a reasonable man would
attach importance to the fact misrepresented or omitted in determining his
course of action.” Merchant Capital, 483 F.3d at 766 (citation omitted). Put
another way, information is material if a reasonable investor would consider
it significant to making an investment decision. Levinson, 485 U.S.at 230. A

false statement or omission need not be outcome determinative for it to be

32
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 33 of 43 PagelD 70

considered material; rather it simply must be significant to the investor's
decision. SEC v. City of Mianu, 988 F. Supp. 2d 1343, 1357 (S.D. Fla. 2013) (“to

_ be material, a fact need not be outcome-determinative, that is, it need not be
important enough that it would necessarily cause a reasonable investor to
change his investment decision”) (quoting SEC v. Meltzer, 440 F. Supp. 2d 179,
190 (E.D.N.Y. 2006)).

Under this standard, the Defendants’ false statements and omissions
were clearly material. The most significant misrepresentations and omissions
concerned the use of investors’ funds. Instead of investing the investors’
funds as stated in the offering documents and PPMs, Maroney in many
cases misappropriated investors’ funds for personal use. Clearly, any
reasonable investor would want to know that a defendant was not using his
or her money in the way the defendant promised - to invest in a specific type
of investment - but instead for the defendant’s own financial gain. U.S. v.
Lochmiller, 521 Fed. Appx. 687, 691-92 (10th Cir. April 15, 2013) (upholding
conspiracy to commit securities fraud conviction because, among other
things, Defendant made material misrepresentations when he told investors
he would use money for low-income housing but instead used it for

personal gain); SEC v. Smart, 678 F.3d 850, 857 (10th Cir. 2012) (that

33
Case 6:21-cv-00694-CEM-DCI Document4 Filed 04/20/21 Page 34 of 43 PagelD 71

defendants were not using money as represented would be material to a.
reasonable investor).

_ In addition, Defendants created an illusion that investments were
profitable, when in fact they had no recurrent source of revenue and were
running a Ponzi scheme. See Merchant Capital, 483 F.3d at 768 (optimistic
statement about business prospects materially misleading if it “fails to
include past performance information that would be useful . . . in assessing
those statements.”); SEC v. Coplan, 13-62127-CIV, 2014 WL 695393, at *4 (S.D.
Fla. Feb. 24, 2014) (omissions of how revenue was generated was material
because “a reasonable investor considering whether to invest would have
wanted to know that [the investment manager] used investors’ funds to pay
earlier investors their purported returns.”).

3. Defendants Acted With a High Degree of Scienter

Courts have defined scienter as a state of mind embracing intent to
deceive, manipulate or defraud. Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193
(1976). The Commission may establish scienter for violations of Sections
17(a)(1) of the Securities Act and Section 10(b) of the Exchange Act by “a
showing of knowing misconduct or severe recklessness.” Monterosso, 756 F.3d

at 1335 (quoting Carriba Air, 681 F.2d at 1324).

34
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 35 of 43 PagelD 72

_ Here, Defendants obtained millions of dollars by means of these.
misrepresentations and omissions. Maroney and the Harbor City entities
he controlled, acted with scienter. Maroney knew, or was reckless in not
knowing, that he was making misrepresentations and omissions to
investors. Maroney knew, or was reckless in not knowing, that the Harbor
City entities were using investor funds to make Ponzi-like payments, and
not to fund lead campaigns. As the individual who misappropriated
investor funds and orchestrated this scheme, it is axiomatic that Maroney
knew, or was reckless in not knowing, he was not investing the funds in
accordance with the representations made to investors. Maroney’s scienter
can also be imputed to the other Defendants. In re Sunbeam Sec. Litig., 89 F.
Supp. 2d 1326, 1340 (S.D. Fla. 1999) (the scienter of corporate officers is
properly imputed to the corporation). Therefore, the Harbor City entity
Defendants also acted with the requisite scienter.

3. The Misconduct Satisfies the “In the Offer or Sale” and “In
Connection With” Requirements

Because Defendants made their misrepresentations and omissions and
participated in a fraudulent scheme in connection with in the offer, purchase,

and sale of the investments, the requirements that the fraud be’in the offer or

35
Case 6:21-cv-00694-CEM-DCI Document4 Filed 04/20/21 Page 36 of 43 PagelD 73

sale”. (Securities Act § 17(a)) or “in connection with the purchase.or sale”
(Exchange Act § 10(b) and Rule 10b-5) of securities is met. United States v.
Naftalin, 441 U.S. 768, 772-73 (1979) (“in the offer or sale” to be read broadly);
SEC v. Zandford, 535 U.S. 813, 819 (2002) (courts should interpret the “in
connection with” requirement broadly to effectuate the remedial purpose of
the federal securities laws); SEC v. Merkin, 2012 WL 5245561 *8 (S.D. Fla. Oct.
3, 2012) (the “in connection with” requirement is satisfied if the SEC shows
that the material misrepresentations were relayed to the public in a way that
a reasonable investor would rely on them).

C. An Ex Parte Temporary Restraining Order is Necessary

Based on the facts and law set forth above, the Commission has met its
burden of showing: (1) there is prima facie evidence the Defendants are
violating the securities laws; and (2) there is a reasonable likelihood they will
continue to violate the law unless the Court immediately issues an ex parte
temporary restraining order against Defendants. As explained in more detail
in our accompanying Certification under Rule 65 as to why we are not
providing notice to the Defendants, we have grave concerns the Defendants
will dissipate investor assets if we do. They have already misappropriated

millions for personal use, and misused millions more of the money they have

36
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 37 of 43 PagelD 74

'. raised from investors. Given that Defendants continue to raise money from
new investors and the ongoing fraud Defendants are committing, we ask the
Court to enter the attached proposed order granting this temporary
restraining order and entering the asset freeze without notice to the
Defendants to prevent them from further pilfering investor funds. The
Commission will immediately serve the Defendants with the pleadings and
orders, and the Defendants can appear and argue why the Court should not

enter a preliminary injunction and further extend the asset freeze.

D. An Ex Parte Freeze of Assets Is Necessary

 

A district court may exercise its full range of equitable powers,
including an asset freeze, to preserve sufficient funds for the payment of a
disgorgement award. FTC v. United States Oil & Gas Corp., 748 F.2d 1431,
1433-34 (11th Cir. 1984); see also Levi Strauss & Co. v. Sunrise Int'l Trading Co.,
51 F.3d 982, 987 (11th Cir. 1995). Freezing assets is a well-accepted equitable
remedy employed to “preserve the status quo” and is proper in actions
arising under the federal securities laws. SEC v. ETS Payphones, Inc., 408
F.3d 727, 734-35 (11th Cir. 2005). Thus, it is well recognized that an asset
freeze is sometimes necessary to ensure a future disgorgement order will not

be rendered meaningless. SEC v. Lauer, 478 Fed. Appx. 550, 554 (11th Cir. 2012)

37
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 38 of 43 PagelD 75

(“The district court may freeze assets in order to preserve funds while a party ..
seeks an equitable remedy such as disgorgement.”); CFTC v. Levy, 541 F.3d
1102, 114 (11th Cir. 2005) (“ [A] district court may freeze a defendant's assets
to ensure the adequacy of a disgorgement remedy”). The Court need only
find some basis for inferring a violation of the federal securities laws to
impose an asset freeze. Unifund SAL, 910 F.2d 1028, 1041-42 (2d Cir. 1990).
The Commission’s “burden for showing the amount of assets subject
to disgorgement (and, therefore available for freeze) is light: a reasonable
approximation of a defendant's ill-gotten gains” is all that is required.
“Exactitude is not a requirement... .” ETS Payphones, 408 F.3d at 735
(citation and quotation omitted); FTC v. IAB Marketing Associates, LP, 746
F.3d 1228, 1234 (11th Cir. 2014). The Commission’s burden to demonstrate
the potential for dissipation of funds is even lighter. FTC v. IAB Marketing
Associates, LP, 972 F. Supp. 2d 1307, 1313 n.3 (S.D. Fla. 2013) (“There does
not need to be evidence that assets will likely be dissipated in order to
impose an asset freeze”) (citing ETS Payphones, 408 F.3d at 734, and SEC v.
Lauer, 445 F. Supp. 2d 1362, 1367-70 (S.D. Fla. 2006)); SEC v. Gonzalez de
Castilla, 145 F. Supp. 2d 402, 415 (S.D.N.Y. 2001) (“the SEC must demonstrate

only ...aconcern that defendants will dissipate their assets . . . .”).

38
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 39 of 43 PagelD 76

Moreover, the Court's power to freeze assets extends to Relief.
Defendants. CFTC v. Walsh, 618 F.3d 218, 225 (2d Cir. 2010); CFTC z.
I nternational Berkshire Group Holdings, inc, 2006 WL 3716390 at *10 (S.D. Fla.
Nov. 3, 2006). A Relief Defendant is a party not charged with wrongdoing
who nevertheless “possesses illegally obtained profits but has no legitimate
claim to them.” Huff, 758 F. Supp. 2d at 1362. To obtain a freeze over a Relief
Defendant's assets, the Commission “most demonstrate only that [it] is
likely ultimately to succeed in disgorging the frozen funds.” Walsh, 618 F.3d
at 225.7

As discussed in above, the Court has the power to enter an asset
freeze against Defendants and Relief Defendants as an equitable remedy to
preserve the status quo and preserve funds for disgorgement that will
compensate defrauded investors. The evidence demonstrates that
Defendants violated the federal securities laws, that Defendants received

investor funds as a result of these violations, and that Defendants

 

7 See also SEC v. Cavanagh, 155 F.3d 129, 136 (2d Cir. 1998) (federal courts may order
equitable relief against a person who is not accused of wrongdoing in a securities
enforcement action); SEC v. Posner, 16 F.3d 520, 521-22 (2d Cir. 1994) (courts have “broad
equitable power in securities cases to fashion appropriate ancillary remedies necessary to
grant full relief’).

39
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 40 of 43 PagelD 77

transferred investor funds that they obtained through their violations to
themselves and to the Relief Defendants. |

Moreover, there is ample evidence that Defendants may continue to
dissipate investor funds if all of these assets are not frozen. As detailed
above, Defendant Maroney directed millions in payments to himself despite
the precarious financial position of the investments. Accordingly, for the
reasons set forth above, the Court should enter an asset freeze against
Defendants and all of the Relief Defendants in the form of the Order
accompanying this memorandum. The Court should further set a hearing
within 14 days ordering Defendants and the Relief Defendants to show
cause why the asset freeze and other emergency relief in the accompanying
order should not be extended for the pendency of the litigation.

E. A Sworn Accounting is Necessary

 

The SEC seeks disgorgement orders against Defendants and the Relief
Defendants. To this end, sworn accountings by Defendants are necessary to
enable the Commission and the Court to more precisely determine the
amounts the Defendants have received, spent, and misappropriated in
furtherance of the fraud, and to better identify the amount of any unjust

enrichment and the assets available for disgorgement. SEC v. Lybrand, 2000

40
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 41 of 43 PagelD 78

WL 913894 at *12 (S.D.N.Y. July 6, 2000). The Commission asks the Court to.
order sworn accountings be received within 7 days.

F, An Order Prohibiting The Destruction Of Records

The Commission also seeks an Order prohibiting the destruction of
records against Defendants and all the Relief Defendants to prevent the
altering or destruction of evidence before this Court can hear and adjudicate
the Commission’s claims. Such an Order is also necessary to ensure that
whatever equitable relief that might be appropriate is not compromised.
Shiner, 268 F. Supp. at 1345-46. Thus, we ask the Court to enter an order
prohibiting the destruction of records pending the outcome of this case.

G. An Expedited Deposition of Maroney

Under the Federal Rules of Civil Procedure, the parties in a civil case
may not ordinarily conduct discovery before they hold their Rule 16
scheduling conference and Rule 26(f) discovery meeting. However, because
of the emergency nature of this action, Maroney’s failure to appear for
noticed testimony, and the imminent threat that he will dissipate assets, the
Commission asks the Court to allow us to notice Maroney for deposition
immediately upon the signing of the Order accompanying this

memorandum on three business days notice.

41
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 42 of 43 PagelD 79

As described . throughout this memorandum, Maroney thas
transferred investor funds to himself and companies he controls. The
Commission has sought documents ‘from Maroney, and. tried to schedule
his investigative testimony through sending an investigative subpoena to
him prior to bringing this lawsuit. Maroney, however, failed to respond to
the subpoena in any manner. Nor has the Commission received the
documents it requested from Maroney’s companies, through service of an
investigative subpoena on its Registered Agent. Thus, for the further
preservation of investor funds, the Commission asks the Court to allow the
Commission to set Maroney’s expedited deposition immediately, as set
forth in the accompanying Order.

IX. CONCLUSION
For the foregoing reasons, the Court should grant the Commission’s
Motion for Temporary Restraining Order and Other Emergency Relief and
issue the accompanying proposed Order.
Respectfully submitted,

April 19, 2021 By:___s/Alise Johnson

Alise Johnson, Esq.

Senior Trial Counsel

Fla. Bar No. 0003270
Direct Dial: (305) 982-6385

42
Case 6:21-cv-00694-CEM-DCI Document 4 Filed 04/20/21 Page 43 of 43 PagelD 80

_ Email: johnsonali@sec.gov ..

Attorneys for Plaintiff
_ SECURITIES AND EXCHANGE |
.COMMISSION::. a
801 Brickell Avenue, Suite 1950
Miami, Florida 33131
Telephone: (305) 982-6300
Facsimile: (305) 536-4154

43
